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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


    UNITED STATES OF AMERICA                               *


         v.                                                *                          CRIM. NO. JKB-16-0363

GERALD THOMAS JOHNSON, et al.,                             *

         Defendants.                                       *

        *        *        *         *        *        *        *         *        *        *        *        *

                                        MEMORANDUM AND ORDER

         Before the Court is Defendants’ Joint Motion for Reconsideration (ECF No. 1005) of the

Court’s Order finalizing the questions to be posed to the former jurors at the Remmer hearing

beginning on May 10, 2021. (ECF No. 998.) This motion puts forward additional reasons that the

Court should adopt several of the substantive modifications to those questions that were initially

proposed by Defendants. (See ECF No. 989.) Having considered Defendants’ additional briefing,

the Court remains convinced that the current list of initial questions to the former jurors should

remain unmodified. This conclusion is without prejudice to Defendants’ opportunity, repeatedly

stated, to propose these questions (and others) as follow-up questions to the former jurors that the

Court may or may not ask.1 (See, e.g., ECF No. 998 at 17–18.) The Court will take into account

the additional bases for potential inquiries put forward in the instant motion in ruling on juror-

specific follow-up questions.


1
  The opportunity for follow-ups does not resolve Defendants’ objection to the Court’s Question 3, where Defendants
continue to insist that the former jurors should not be reminded of exactly what they were told by the Court on January
10, 2018. (ECF No. 1005 at 4–5.) Upon reconsideration, the Court continues to conclude that the former jurors should
be reminded that they were provided with a curative instruction following the events of January 9, 2018. Despite
Defendants’ objection, the Court also continues to conclude that the Court should not supplement the verbatim curative
instruction provided to the former jurors with information unavailable to them at the time. (See id. at 5 (positing that
“the jurors should not be reminded of the ‘investigation’ at all. And if they are so ‘reminded,’ they should be reminded
accurately, with information regarding that investigation’s flaws.”).)
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         Accordingly, Defendants’ Motion is DENIED insofar as it seeks modification of the initial

questions to be posed to the former jurors. This denial is without prejudice as to whether those

questions may be proposed by either party as potential follow-up questions to be asked by the

Court.



DATED this 9 day of May, 2021.


                                                     BY THE COURT:


                                                            /s/ JAMES K. BREDAR
                                                     James K. Bredar
                                                     Chief Judge
